     Case 3:18-cv-00154-N Document 174 Filed 10/22/18      Page 1 of 4 PageID 6191


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

SHANNON DAVES, et al.,                      §
    Plaintiffs,                             §
                                            §
v.                                          §               Civil Action
                                            §               Case No. 3:18-CV-154
                                            §
DALLAS COUNTY, TEXAS, et al.,               §
    Defendants.                             §


                           Notice of Appeal by Dallas County

         Defendant Dallas County, Texas appeals to the United States Court of Appeals,

Fifth Circuit from: (a) the Memorandum Opinion and Order entered September 20, 2018

(ECF No. 164), and (b) the Preliminary Injunction Order entered September 20, 2018

(ECF No. 165).




HOU-6576212-1
  Case 3:18-cv-00154-N Document 174 Filed 10/22/18   Page 2 of 4 PageID 6192


                                            Respectfully Submitted,

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HOU-6576212-1
  Case 3:18-cv-00154-N Document 174 Filed 10/22/18         Page 3 of 4 PageID 6193


                                 Certificate of Service

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HOU-6576212-1
  Case 3:18-cv-00154-N Document 174 Filed 10/22/18   Page 4 of 4 PageID 6194




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HOU-6576212-1
